JS 44 (Rev. 04/21)                                   CIVIL
                                  Case: 3:21-cv-00637-slc   COVER
                                                          Document #: SHEET
                                                                      1 Filed: 10/11/21 Page 1 of 17
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                              DEFENDANTS
          GINA KILDAHL                                                                                         SCHOOL DISTRICT OF FALL CREEK; SCHOOL
                                                                                                               DISTRICT OF FALL CREEK BOARD OF EDUCATION;
    (b)   County of Residence of First Listed Plaintiff                Eau Claire                              County
                                                                                                               BROCK  of Residence
                                                                                                                          WRIGHT.; of First Listed RYAN
                                                                                                                                          ERIC     Defendant   Eau Claire
                                                                                                                                                           ; ANNMARIE
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               ANDERSON;
                                                                                                               NOTE:             JILL GESKE;CASES,
                                                                                                                       IN LAND CONDEMNATION          COURTNEY        KNEIFL;
                                                                                                                                                          USE THE LOCATION OF JOE
                                                                                                                       THE TRACT OF LAND INVOLVED.
                                                                                                               SANFELIPPO
    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
          Frederick Melms 6329 Spindrift Foam ave, Las Vegas,
          NV 89139 715-892-3023
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                  ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1        ✖ 1      Incorporated or Principal Place         4   ✖ 4
                                                                                                                                                           of Business In This State

    2   U.S. Government                      4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
          Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                      Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                        Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                         Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                    TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                           310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                       315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                 Liability                    367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment          320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment             Slander                          Personal Injury                                                820 Copyrights                    430 Banks and Banking
    151 Medicare Act                     330 Federal Employers’                Product Liability                                              830 Patent                        450 Commerce
    152 Recovery of Defaulted                 Liability                    368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
         Student Loans                   340 Marine                            Injury Product                                                     New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)             345 Marine Product                    Liability                                                      840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment               Liability                   PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits            350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits              355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
    190 Other Contract                       Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability       360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                            Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation            ✖   440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                      441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment           442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                    443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
    245 Tort Product Liability               Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property          445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                             Other                         550 Civil Rights                  Actions                                                                State Statutes
                                         448 Education                     555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                         3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                  (specify)                 Transfer                          Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             42 U.S. Code § 1983
VI. CAUSE OF ACTION                          Brief description of cause:
                                             Violation of fourteenth Amendment right to be protected from Covid 19
VII. REQUESTED IN                            ✖    CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                                 (See instructions):
      IF ANY                                                             JUDGE                                                                DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
10/11/2021                                                                  /s/ Frederick Melms
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 2 of 17
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
       Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 3 of 17




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   Telephone: (715) 892-3023
 5
   Attorney for Plaintiff
 6 GINA KILDAHL
 7
 8
                           UNITED STATES DISTRICT COURT
 9
                     FOR THE WESTERN DISTRICT OF WISCONSIN
10
   SK b/n/f GINA KILDAHL and on behalf Case No.
11 of themselves and those similarily
                                        COMPLAINT AND REQUEST FOR
12 situated,                            DECLARATORY AND
                                        INJUNCTIVE RELIEF
13             Plaintiff,
                                         1. Equal Protection, Affirmative Duty
14        vs.                               to Protect-State Created Danger.
15 SCHOOL DISTRICT OF FALL                  (42 U.S.C. § 1983)
                                         2. Equal Protection, Affirmative Duty
16 CREEK; SCHOOL DISTRICT OF                to Protect-Special relationship. (42
   FALL CREEK BOARD OF                      U.S.C. § 1983)
17 EDUCATION; BROCK WRIGHT.;             3. Public Nuisance.
   ERIC RYAN ; ANNMARIE
18 ANDERSON; JILL GESKE;
19 COURTNEY KNEIFL; JOE
   SANFELIPPO ; and Does 1-10 on behalf
20 of themselves and those similarly
   situated,
21
               Defendants.
22
23
      COMPLAINT AND REQUEST FOR DECLARATIVE AND INJUNCTIVE
24
                                          RELIEF
25
           Plaintiff, GINA KILDAHL individually, as the Next Friend of Minor SK, and
26
     as class representative for all K-12 public school students, their Next Friends, and
27
     Parents and Legal Guardians in the State of Wisconsin brings this Complaint against
28

                                              -1-
                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
      Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 4 of 17




 1 Defendants, SCHOOL DISTRICT OF FALL CREEK, SCHOOL DISTRICT OF
 2 FALL CREEK BOARD OF EDUCATION, BROCK WRIGHT, ERIC RYAN,
 3 ANNMARIE         ANDERSON,        JILL    GESKE,      COURTNEY       KNEIFL,      JOE
 4 SANFELIPPO, and Does 1-10 as representatives of a class of Wisconsin Defendant
 5 School Districts, School Boards, School Board Members and Superintendents
 6 recklessly refusing to implement the reasonable and scientifically supported
 7 COVID-19 mitigation strategies recommended by the Wisconsin Department of
 8 Public Instruction and the Centers for Disease Control. The failure by this class of
 9 Defendants to take adequate Covid-19 related safety measures has needlessly and
10 recklessly placed Wisconsin school children and their communities at risk of serious
11 illness and death. This Plaintiff class vs Defendant class action seeks injunctive and
12 declaratory relief to remedy the failure of Wisconsin School Districts to adequately
13 protect their students and communities.
14
15                                  INTRODUCTION
16     1. This Plaintiff class vs Defendant Class action seeks injunctive relief from a
17        class of Defendants for violating various student rights under the United States
18        Constitution, state law, and abatement of a public nuisance under Federal
19        Common law and Wisconsin state law in connection with the refusal of many
20        Wisconsin school boards to implement reasonable Covid-19 mitigation
21        strategies.
22
23                               JURISDICTION AND VENUE
24     2. This civil action is brought for the redress of alleged deprivations of
25        constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and
26        the Fourth, Fifth, and Fourteenth Amendments of the United States
27        Constitution. Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and 1367
28        and statutory and Constitutional provisions.

                                             -2-
                                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 5 of 17




1    3. Jurisdiction is also proper under Federal Common Law and 28 U.S.C.
2        § 1367(a).
3    4. Venue is proper in this Court under 28 U.S.C. § 1391(b), because Defendants
4        reside in, and all incidents, events, and occurrences giving rise to this action
5        occurred in, the County of Eau Claire, Wisconsin, within the Western District
6        of Wisconsin.
7                                           PARTIES
8    5. At all relevant times, GINA KILDAHL (“PLAINTIFF”) is mother and Next
9        Friend of Minor SK, both of whom were and are residents of Eau Claire
10       County, Wisconsin
11   6. At all relevant times Minor SK was a student in the School District of
12       Waukesha at Fall Creek Elementary School.
13   7. GINA KILDAHL also brings this suit as class representative for all K-12
14       students and their Next Friends.
15   8. At all times herein mentioned, The Defendant, SCHOOL DISTRICT OF
16       FALL CREEK BOARD OF EDUCATION (hereinafter “BOARD”) employs
17       and controls the staff, operates, and exercises policy making authority over
18      Defendant SCHOOL DISTRICT OF FALL CREEK (hereinafter FCSD).
19   9. Defendant, BROCK WRIGHT (hereinafter “WRIGHT”) was at all times
20      relevant to this action President of the BOARD and acting under the color of
21      law. He is sued in his official capacity for injunctive relief only.
22   10. Defendant, JOE SANFELIPPO (hereinafter “SANFELIPPO”) was at all
23      times relevant to this action superintendent of FCSD and acting under the
24      color of law. He is sued in his official capacity for injunctive relief only.
25   11. Defendant, ANNMARIE ANDERSON (hereinafter “ANDERSON”) was at
26      all times relevant to this action Clerk of the BOARD and acting under the
27      color of law. He is sued in his official capacity for injunctive relief only.
28

                                             -3-
                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 6 of 17




1    12. Defendant, JILL GESKE (hereinafter “GESKE”) was at all times relevant to
2        this action Treasurer of the BOARD and acting under the color of law. He is
3        sued in his official capacity for injunctive relief only.
4    13. Defendant, COURTNEY KNEIFL (hereinafter “KNEIFL”) was at all times
5        relevant to this action a member of the BOARD and acting under the color of
6        law. He is sued in his official capacity for injunctive relief only.
7    14. Defendant, ERIC RYAN (hereinafter “RYAN”) was at all times relevant to
8        this action Vice President of the BOARD and acting under the color of law.
9        She is sued in his official capacity for injunctive relief only.
10   15. At all relevant times, DOES 1 through 10 are employees, administrators, or
11       individuals with other policy making authority over the SCHOOL DISTRICT
12       OF FALL CREEK and are sued in their official capacity for injunctive relief
13       only.
14
15               FACTS COMMON TO ALL CLAIMS FOR RELIEF
16   16. PLAINTIFF repeats and realleges each and every allegation in paragraphs 1
17       through 15 of this Complaint with the same force and effect as if fully set
18       forth herein.
19   17. COVID-19 also known as COVID and the coronavirus, is a contagious
20       disease caused by severe acute respiratory syndrome coronavirus 2 or (SARS-
21       CoV-2)
22   18. The SARS-CoV-2 virus has an incubation period between two and fourteen
23       days and is highly contagious and deadly. The virus causes a myriad of
24       symptoms ranging from a fever or chills, a cough, shortness of breath or
25       difficulty breathing, fatigue, muscle or body aches, a headache, a loss of taste
26       or smell, a sore throat, congestion or runny nose, nausea or vomiting, diarrhea,
27       organ failure, and respiratory failure.
28

                                              -4-
                                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 7 of 17




1    19. The SARS-CoV-2 virus was originally discovered in late 2019 and spread
2        globally within mere months.
3    20. The World Health Organization declared Covid-19 a pandemic on March 11,
4        2020.
5    21. In December of 2020 the Delta variant of the SARS-CoV-2 virus emerged in
6       India and was detected in the United States in March of 2021.
7    22. The Delta variant of the SARS-CoV-2 virus has proved to be more contagious
8        than the original variant and is capable of causing deadly infections in
9        vaccinated individuals.
10   23. At the time of this filing, there have been over 40 million confirmed Covid-19
11       cases in the United States causing over 700,000 deaths.
12   24. At the time of this filing, there have been over 890,000 confirmed Covid-19
13       cases in Wisconsin causing over 8,900 deaths.
14   25. Individuals can take steps to limit the spread of Covid-19, these steps include
15       getting vaccinated and wearing facemasks.
16   26. Currently there are three different vaccines available, only one of which is
17      available to children from 12-17. No vaccine is currently available to children
18      under 12.
19   27. The Covid-19 pandemic drastically effected K-12 schooling during the Spring
20      of 2020. All Wisconsin schools were shut down by order of Governor Evers
21      and most students were taught virtually.
22   28. During the 2020-2021 School year, schooling throughout Wisconsin was
23      either conducted virtually, or in person with Covid-19 mitigation strategies in
24      place including universal masking.
25   29. When the 2021-2022 School year began, many school districts, including the
26       School District of Fall Creek brought students back without adequate Covid-
27       19 mitigation measures in place including mandatory face masking, social
28

                                             -5-
                                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 8 of 17




1        distancing, or contract tracing, creating an incredibly dangerous learning
2        environment.
3    30. On August 10, 2021, the Wisconsin Department of Public Instruction
4        (hereinafter “DPI”) released a publication entitled COVID-19 Infection
5        Control and Mitigation Measures for Wisconsin Schools 2021/2022.
6    31. In the COVID-19 Infection Control and Mitigation Measures for Wisconsin
7        Schools 2021/2022, the Wisconsin Department of Public Instruction makes
8        several recommendations for steps Wisconsin schools should take to limit the
9        spread of Covid-19.
10   32. Specifically, the DPI recommends that schools encourage children and staff
11       who have been exposed to COVID-19 to stay home and get tested, encourage
12       good hand hygiene, promote vaccination to eligible students and staff,
13       maintain a policy of physical distancing between students and staff, limit non-
14       essential visitation to the schools, establish contact tracing programs, improve
15       ventilation where possible and disinfect surfaces within the school on a daily
16       basis.
17   33. Finally, the DPI recommends that all Wisconsin schools institute mandatory
18       masking policies for students and staff.
19   34. On August 5, 2021, the Centers for Disease Control (hereinafter “CDC”)
20       published their most recent Guidance for COVID-19 Prevention in K-12
21       Schools.
22   35. The CDC recommends that schools encourage children and staff who have
23       been exposed to COVID-19 to stay home and test, encourage good hand
24       hygiene, promote vaccination to eligible students and staff, maintain a policy
25       of physical distancing between students and staff, limit non-essential visitation
26       to the schools, establish contact tracing programs, improve ventilation where
27       possible and disinfect surfaces within the school on a daily basis.
28

                                             -6-
                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 9 of 17




1    36. The CDC also recommends that schools implement universal masking
2        policies.
3    37. The CDC has found that universal masking policies drastically reduce the rate
4        of Covid-19 infections in schools.
5    38. Wisconsin School districts are all implementing different Covid-19 mitigation
6        policies, many of which recklessly ignore DPI and CDC recommendations.
7    39. The School Districts refusing to implement Covid-19 mitigation strategies in
8        their schools are functionally hosting daily “super spreader” events.
9    40. During the Spring of 2020, The School District of Fall Creek held classes
10      remotely, this policy continued sporadically during the 2020-2021 school
11       year. When School District of Fall Creek brought students back to in person
12       learning the school district had a robust Covid-19 mitigation strategy that
13       included mandatory masking.
14   41. During the 2020-2021 School year SK attended Fall Creek Elementary
15      School which had several different Covid-19 infection mitigation strategies in
16       place. Theses strategies included universal masking and social distancing.
17   42. The Board of Education for the School District of Fall Creek voted to end
18      many of their Covid-19 mitigation policies, including their universal masking
19      requirement for the 2021-2022 school year.
20   43. When the 2021-2022 School year began, SK returned to school and wore a
21       mask daily.
22   44. Many of SK’s classmates choose not to wear masks to school.
23   45. On September 20, 2021, one of SK’s classmates tested positive for Covid-19
24   46. On September 24, 2021, another of SK’s classmates tested positive for Covid-
25       19.
26   47. SK’s sick classmate did not wear a mask to school.
27   48. On September 27, 2021, SK tested positive for Covid-19.
28

                                              -7-
                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 10 of 17




1     49. After SK tested positive for Covid-19, Plaintiff chose to quarantine SK and he
2        missed two weeks of school.
3                               FIRST CLAIM FOR RELIEF
4         Equal Protection, Affirmative Duty to Protect-State Created Danger (42
5                                        U.S.C. § 1983)
6    (SK b/n/f GINA KILDAHL and on behalf of those similarly situated, Against
      SCHOOL DISTRICT OF FALL CREEK; SCHOOL DISTRICT OF FALL
7      CREEK BOARD OF EDUCATION; BROCK WRIGHT.; ERIC RYAN ;
       ANNMARIE ANDERSON; JILL GESKE; COURTNEY KNEIFL; JOE
8     SANFELIPPO ; and Does 1-10 on behalf of themselves and those similarly
                                  situated,)
9
      50. PLAINTIFF repeats and re-alleges each and every allegation in paragraphs 1
10
         through 49 of this Complaint with the same force and effect as if fully set
11
         forth herein.
12
      51. SK and those similarly situated have a cognizable right under the Fourteenth
13
         Amendment to the United States Constitution to be safe from state created
14
         dangers while in school.
15
      52. At the beginning of the Covid-19 Pandemic the schools within FCSD were
16
         closed by Emergency Order of Governor Evers on April 16, 2020, as was
17
         every other school in the State of Wisconsin
18
      53. Due to the school closures, FCSD and nearly every other school district in the
19
         State of Wisconsin transitioned to virtual learning.
20
      54. FCSD chose to bring their students back to school and reinstituted in person
21
         learning during the 2020-2021 School year, placing their students in danger of
22
         Covid-19 infection.
23
      55. FCSD has also resumed extracurricular activities which currently do not have
24
         adequate Covid-19 mitigation measures in place, this further increases the
25
         opportunity for a Covid-19 outbreak in the FCSD schools.
26
      56. FCSD and the BOARD are also currently allowing visitors and volunteers to
27
         enter the FCSD schools without masks, Covid-19 screenings, or requiring
28

                                             -8-
                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 11 of 17




 1        negative test results. Each visitor and volunteer in the FCSD schools brings
 2        with them the possibility of a Covid-19 outbreak.
 3     57. Similarly, employees at the FCSD schools are not universally masking.
 4     58. By bringing students back to class around unmasked staff, reinstituting
 5        extracurricular activities, and allowing potentially contagious visitors and
 6        volunteers into the schools without masks, FCSD and the BOARD threw
 7        students into a Covid-19 “snake pit” creating an affirmative duty to keep their
 8        students safe from Covid-19.
 9     59. The FCSD and the BOARD’S reckless refusal to implement reasonable
10        Covid-19 mitigation measures was the direct and proximate cause SK’s
11        infection and illness.
12     60. By throwing SK and the rest of the FCSD students into the Covid-19 “snake
13        pit” FCSD and the BOARD created an affirmative duty under the Fourteenth
14        Amendment to the Constitution of the United States of America to maintain
15        adequate Covid-19 mitigation measures to protect their students.
16     61. FCSD and the BOARD are aware that by removing their COVID-19
17        mitigation measures they are needlessly and recklessly endangering the health
18        and safety of their students.
19     62. FCSD and the BOARD’s refusal to implement the reasonable Covid-19
20        mitigation strategies recommended by the CDC and the DPI is reckless and
21        shocks the conscious.
22     63. As a result of the unconstitutional conduct of the Defendants, SK was infected
23        with Covid-19 and suffered needlessly.
24     64. PLAINTIFF brings this claim for Declaratory and Injunctive Relief as Next
25        Friend of SK and Plaintiff class representative.
26                                 SECOND CLAIM FOR RELIEF
27 Equal Protection, Affirmative Duty to Protect-Special relationship (42 U.S.C. §
                                       1983)
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                                              -9-
                                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 12 of 17




1    (SK b/n/f GINA KILDAHL and on behalf of those similarly situated, Against
      SCHOOL DISTRICT OF FALL CREEK; SCHOOL DISTRICT OF FALL
2
       CREEK BOARD OF EDUCATION; BROCK WRIGHT.; ERIC RYAN ;
3      ANNMARIE ANDERSON; JILL GESKE; COURTNEY KNEIFL; JOE
      SANFELIPPO ; and Does 1-10 on behalf of themselves and those similarly
4
                                         situated,)
5      65. Plaintiff repeats and re-alleges each and every allegation in paragraphs 1
6        through 64 of this Complaint with the same force and effect as if fully set
7        forth herein.
8     66. SK and those similarly situated have a cognizable right under the Fourteenth
9        Amendment to the United States Constitution to be protected from Covid-19
10       by the FCSD and Board due to the special relationship between students and
11       school administration created by the initial response to the Covid-19
12       Pandemic.
13    67. During the 2019-2020 and 2020-2021 school years the FCSD and BOARD
14       implemented appropriate COVID-19 mitigation measures, including a
15       universal masking requirement.
16    68. By implementing Covid-19 mitigation measures during the 2019-2020 and
17       2020-2021 school years FCSD and the BOARD deliberately assumed control
18       over SK’s physical welfare as it related to the Covid-19 pandemic and created
19       a “special relationship” with him and his classmates in which FCSD and the
20       Board are responsible for his keeping students safe from Covid-19.
21    69. The special relationship between students and FCSD and the BOARD
22       creates an affirmative duty whereby FCSD and the BOARD have a duty
23       under the Fourteenth Amendment to the Constitution of the United States of
24       America to maintain adequate Covid-19 mitigation measures to protect their
25       students.
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                                           -10-
                                      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 13 of 17




1     70. FCSD and the BOARD breached this affirmative Duty when they removed
2        many of their Covid-19 mitigation measures that were in place during the
3        2020-2021 school.
4     71. FCSD and the BOARD breach this affirmative duty on a daily basis by
5        recklessly holding in person classes after removing their Covid-19 mitigation
6        measures from the school.
7     72. As a result of the unconstitutional conduct of the Defendants, SK was
8        infected with Covid-19 and suffered needlessly.
9     73. PLAINTIFF brings this claim for Declaratory and Injunctive Relief as Next
10       Friend of SK and Plaintiff class representative.
11                           THIRD CLAIM FOR RELIEF
12                           PUBLIC NUISANCE
13         (PLAINTIFF and similarly situated individuals against all Defendants
                             and those similarly situated)
14
15    74. PLAINTIFF repeats and re-alleges each and every allegation in paragraphs 1

16       through 73 of this Complaint with the same force and effect as if fully set

17       forth herein.

18    75. The Covid-19 pandemic has been a public health disaster in Wisconsin and

19       the United States a whole.

20    76. The Covid-19 pandemic has killed over 8,900 Wisconsinites and

21       overwhelmed our healthcare systems.

22    77. The general public has the right to be free from unnecessary exposure to

23       infectious diseases like Covid-19.

24    78. The general public and Wisconsin communities have a public health interest

25       in limiting the spread of Covid-19.

26    79. By holding classes without adequate Covid-19 mitigation measures the

27       BOARD and FCSD are causing Covid-19 to spread within the district’s

28       schools.

                                              -11-
                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 14 of 17




1     80. SK and other students within FCSD are being needlessly infected with
2           Covid-19 due to the reckless conduct of FCSD and the BOARD. These
3           infected students then leave school and spread Covid-19 throughout the
4           community.
5     81. By holding classes without adequate Covid-19 mitigation measures the
6           FCSD and BOARD are knowingly, needlessly, unreasonably, and recklessly
7           exposing the public to Covid-19, interfering with the general public’s right to
8           be free from unnecessary exposure to infectious diseases like Covid 19, and
9           endangering public health.
10    82. FCSD and the BOARD’s reckless and unreasonable conduct caused special
11          injuries to SK. SK became infected with Covid-19 forcing him into
12          quarantine and to miss school.
13    83. PLAINTIFF brings this claim for Injunctive and Declaratory relief on behalf
14          of SK and on behalf of all similarly situated individuals.
15
16                               CLASS ACTION ALLEGATIONS
17
18    84.     PLAINTIFF repeats and re-alleges each and every allegation in paragraphs
19          1 through 83 of this Complaint with the same force and effect as if fully set
20          forth herein.
21    85. Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
22          23(b)(2) as the named and absent Defendants have acted or refused to act on
23          grounds generally applicable to the class, making final Declaratory and
24          Injunctive relief appropriate.
25    86. Pursuant to Federal Rules of Civil Procedure 23(a) and (b)(2), Plaintiff brings
26          this action on behalf of SK, and the class, particularly the following Statewide
27          class of similarly situated persons defined as all K-12 students attending
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                                                 -12-
                                             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 15 of 17




1        public schools in the state of Wisconsin who have become infected with
2        Covid-19 at school and their Next Friends.
3     87. Pursuant to Federal Rules of Civil Procedure 23(a) and (b)(2), Plaintiff
4        brings this action against a class of Defendants, particularly a Statewide class
5        of similarly situated School Boards, School Board members and school
6        districts defined as all K-12 public schools failing to implement CDC and DPI
7        guidelines and recommendations for Covid-19 mitigation.
8     88. This action has been brought and may properly be maintained as a class
9        action as it both Plaintiff and Defendant classes satisfy the numerosity,
10       commonality, typicality and adequacy requirements of Rule 23(a)
11    89. The Plaintiff Class consists of all public-school K-12 students who have
12       been infected with Covid-19 while at school, satisfying the numerosity
13       requirement.
14    90. The Defendant Class consists of school boards, school board members,
15       superintendents and school districts refusing to implement the Covid-19
16       mitigation guidance and recommendations for K-12 Schools from the DPI
17       and CDC satisfying the numerosity requirement.
18    91. The claims of Plaintiff as next friend of SK share common questions of law
19       and fact with the claims of the absent members of the Plaintiff Class
20       satisfying the commonality requirement.
21    92. The defenses and conduct of the named and absent Defendant Class
22       members share common aspect of law and fact satisfying the commonality
23       requirement.
24    93. The claims of Plaintiff as next friend of SK have a common origin and share
25       a common basis with the absent class members. Their claims originate from
26       reckless refusal of school boards and school districts to implement reasonable
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                                            -13-
                                       COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 16 of 17




1        Covid-19 mitigation measures. As such, the Plaintiff class meets the
2        typicality requirement.
3     94. The conduct of the named and absent Defendants in this action is virtually
4        identical. They have all recklessly refused to implement reasonable Covid-19
5        mitigation measures. As such, both the named and absent Defendant class
6        members should have defenses with a common origin which will share a
7        common basis meeting the typicality requirement.
8     95. Plaintiff is willing and prepared to serve the Court and proposed class in a
9        representative capacity with all of the obligations and duties material hereto.
10       She will fairly and adequately protect the interest of the class and has no
11       interests adverse to, or which directly and irrevocably conflict with, the
12       interests of other members of the class. She has also engaged the services of
13       counsel indicated below. Said counsel is experienced in civil rights and class
14       litigation, will adequately prosecute this action, and will assert, protect and
15       otherwise well represent the named class representatives and absent class
16       members.
17    96. The named Defendants are all from the FCSD and should have the means to
18       defend this action. Given that the action is exclusively for declaratory and
19       injunctive relief there should not be any conflict between the named and
20       absent Defendant Class members. Similarly, this action focuses almost
21       exclusively on questions of law and is not particularly fact specific, as such if
22       the named Defendants’ counsel adequately represents the named Defendants
23       in this action, they are also adequately representing the class.
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                                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
     Case: 3:21-cv-00637-slc Document #: 1 Filed: 10/11/21 Page 17 of 17




 1
 2                               PRAYER FOR RELIEF
 3        WHEREFORE, Plaintiff Gina Kildahl, as Next Friend of SK, and as a class
 4 representative, requests entry of judgment in her favor and against Defendants
 5 SCHOOL DISTRICT OF FALL CREEK, SCHOOL DISTRICT OF FALL CREEK
 6 BOARD OF EDUCATION, BROCK WRIGHT, ERIC RYAN, ANNMARIE
 7 ANDERSON, JILL GESKE, COURTNEY KNEIFL, JOE SANFELIPPO, and Does
 8 1-10 on behalf of themselves and those similarly situated, as follows:
 9              A.     For declaratory and injunctive relief.
10              B.     Attorney Fees and Costs.
11
12 DATED: October 11, 2021             FREDERICK B. MELMS Esq
13
14                                      By:/s/ Frederick Melms
                                           Frederick Melms
15
                                           Attorney for Plaintiff
16                                         Gina Kildahl
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                                             -15-
                                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
